           Exhibit 65




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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        CIVIL ACTION NO. 1:14-CV-00954-LCB-JLW


                STUDENTS FOR FAIR
                ADMISSIONS, INC.,

                                        Plaintiffs,

                     vs.

                UNIVERSITY OF NORTH
                CAROLINA, et al.,

                                        Defendants.




                               _______________________________

                                    AMENDED DEPOSITION
                                            OF
                                       MICHAEL DAVIS
THIS DEPOSITION CONTAINS HIGHLY CONFIDENTIAL AND
                  PROPRIETARY INFORMATION AND IS SUBJECT TO A PROTECTIVE
                    ORDER RESTRICTING PUBLIC DISCLOSURE OF ITS CONTENTS
                              _______________________________




                TAKEN AT THE OFFICES OF:
                UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL
                222 East Cameron Avenue
                110 Bynum Hall
                Chapel Hill, NC 27514



                                           06-15-17
                                           8:56 A.M.

                                 __________________________

                                      Michael B. Lawrence
                                        Court Reporter


                                 Civil Court Reporting, LLC
                                         P.O. Box 1146
                                     Clemmons, NC 27012
                                       (336) 406-7684




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                              1   purchase data from ACT and College Board?

                              2          A.   Yes.

                              3          Q.   And once University purchase -- excuse

                              4   me, once UNC purchases that, it uses it for more

                              5   than just one thing in your experience?

                              6                      MS. COMBS:   Object to form.

                              7          A.   The names that we purchase can only be

                              8   used for recruitment to that particular

                              9   university.    So, we are bound to only use them to

                             10   communicate with students about Carolina or

                             11   general college access, that is also allowed.                So

                             12   they are within our general recruitment plan,

                             13   which has different components to it.

                             14          Q.   (Mr. Weir)    When you say bound, that is

                             15   the contract that UNC signs with College Board and

                             16   ACT?

                             17          A.   Correct.

                             18          Q.   And so, when UN -- when the Admissions

                             19   office purchases that data, it's using it for

                             20   recruitment generally?

                             21          A.   Yes, correct.

                             22          Q.   How does UNC decide what types of data

                             23   to purchase from College Board and ACT?

                             24          A.   Since I have been here, it has been a

                             25   group discussion between myself, Steve, and I have

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                              1   involved Damon Toone and Jared Rosenberg.

                              2        Q.     Add what criteria goes into those

                              3   conversations?    What do you talk about in deciding

                              4   what to purchase?

                              5        A.     Generally, we are looking for talented

                              6   students that, based on the information we have

                              7   available at that time, may indicate that they

                              8   could be admissible and potentially interested in

                              9   Carolina.

                             10        Q.     When you say admissible, what do you

                             11   mean?

                             12        A.     Admissible from the standpoint of, at

                             13   that stage, the only real information we have

                             14   about the students is their test score and their

                             15   self-reported GPA.

                             16        Q.     That's the only data you are able to get

                             17   from College Board and the ACT?

                             18        A.     It's not the only data that we are able

                             19   to get, but it's the only data that, to me,

                             20   signifies how admissible a student may later be.

                             21        Q.     There is no additional data that you can

                             22   get from College Board and ACT that you believe

                             23   would go into whether or not a student was

                             24   admissible?

                             25        A.     Correct.

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                              1       Q.      Does UNC purchase data from students

                              2   that it believes would not be admissible?

                              3       A.      No.

                              4       Q.      And why not?

                              5       A.      We do not want to actively market to and

                              6   recruit students that we do not believe may be

                              7   potentially admissible and a good fit for

                              8   Carolina.

                              9       Q.      So how do you go about setting the

                             10   cutoffs since the only information you have is GPA

                             11   and SAT or ACT?     So how do you go about setting

                             12   the cutoff for what is and what is not admissible?

                             13       A.      So it's not a cutoff for what is

                             14   admissible.    It is a cutoff in terms of who we are

                             15   going to actively market to.     I will also mention

                             16   that any student, whether they come to us through

                             17   search or not, if they express interest in the

                             18   University, is also included in our general

                             19   recruitment activities.

                             20       Q.      Those would be students that actively

                             21   say, hey, I am interested in UNC through whatever

                             22   avenue UNC has set up for that?

                             23       A.      Correct.

                             24       Q.      Okay.

                             25       A.      Correct.

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                              1   can go to the next page -- I believe it's the next

                              2   page, UNC0186729 on the bottom.     The second -- I

                              3   guess, the third row down, "Work with Associate

                              4   Directors of Diversity and Recruitment to create

                              5   compelling content for both prospective and

                              6   admitted students."   Under"Audience" it states,

                              7   "Students likely to be admitted who will

                              8   contribute to diversity."    Do you know what's

                              9   meant there, what that means?

                             10       A.   I do not.

                             11       Q.   Does the admissions office speak in

                             12   shorthand of students likely to be admitted?

                             13                   MS. COMBS:   Object to form.

                             14       A.   I don't think I understand the question.

                             15       Q.   (Mr. Weir)    Sure.   Is there any sort of

                             16   criteria that would put students in a box of one

                             17   that's likely to be admitted?

                             18       A.   No.

                             19       Q.   So earlier we talked about search and

                             20   how you choose which bands to purchase and I

                             21   believe the word you used was, "admissible"?

                             22                   MS. COMBS:   Object.

                             23       Q.   (Mr. Weir)    You purchase bands that are

                             24   admissible.   Is that correct?

                             25       A.   Potentially admissible.

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                              1       Q.    Potentially admissible.      And the

                              2   criteria you use is -- is what?     Based on what you

                              3   can purchase from the College Board?        You purchase

                              4   that at which you think puts the applicant in the

                              5   "admissible" category?

                              6                    MS. COMBS:   Object to form.

                              7       A.    Can you restate that question?

                              8       Q.    (Mr. Weir)    Right.   I just want to -- I

                              9   just want to make sure I understand your prior

                             10   testimony.    What did you mean by admissible when

                             11   we discussed it last time?

                             12       A.    When we were previously discussing it, I

                             13   believe that I said when we purchase names, we

                             14   want to purchase them with an eye towards doing

                             15   our due diligence, that these were students who

                             16   would be potentially admissible to the University.

                             17   So not purchasing names that we know for a fact

                             18   would not be admissible.

                             19       Q.    So you wouldn't -- UNC wouldn't purchase

                             20   lists of students it knows for a fact are not

                             21   admissible?

                             22       A.    Our goal would be to avoid that.

                             23             (EXHIBIT NUMBER 11 WAS MARKED)

                             24       Q.    You're being handed what's been marked

                             25   as Exhibit 11.    Familiarize yourself with this

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                              1        A.   Thank you.

                              2        Q.   If you will review this document.

                              3   (Witness examined document)

                              4        A.   Okay.

                              5        Q.   Are you familiar with this document?

                              6        A.   Yes.

                              7        Q.   Is this an email that you drafted and

                              8   sent to people in the office?

                              9        A.   It is, yes.

                             10        Q.   And remind me again what Carolina and

                             11   Beyond is.

                             12        A.   Carolina and Beyond was a recruitment

                             13   event designed to generate applications and it was

                             14   a replacement for Academic Days.

                             15        Q.   Is this a -- an email to the office

                             16   discussing that Carolina and Beyond event and who

                             17   to invite to it?

                             18        A.   It was an email to the associate group.

                             19        Q.   Is the associate group -- is that --

                             20   that's the high level group that we discussed

                             21   earlier with you and Barbara Polk and Steve

                             22   Farmer?

                             23        A.   Correct.

                             24        Q.   And it -- but this is about setting up a

                             25   Carolina and Beyond event.    Is that right?

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                              1        A.     Okay.

                              2        Q.     Have you seen a report like this in your

                              3   time at UNC?

                              4        A.     I do not recall seeing a report like

                              5   this, no.

                              6        Q.     Any conversations with any one of the

                              7   Admissions office about how UNC's undergraduate

                              8   population compares to peer institutions?

                              9        A.     Not that I specifically recall, no.

                             10        Q.     Are you familiar with the term "critical

                             11   mass"?

                             12        A.     I have heard of it, but I am not really

                             13   familiar with what it means.

                             14        Q.     What do you think it means?

                             15        A.     I honestly don't know enough to hazard a

                             16   guess.

                             17        Q.     Have you had discussions with anybody in

                             18   the Admissions office about critical mass?

                             19        A.     I have not, no.

                             20        Q.     Have you had any discussions with anyone

                             21   in the Admissions office about what the ultimate -

                             22   -- what the perfect student body would look like?

                             23        A.     No, I have not.

                             24        Q.     Have you been instructed by anyone in

                             25   the admissions office to attain a certain goal

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                              1   with regard to the composition of the

                              2   undergraduate student body?

                              3        A.   No.

                              4                   MS. COMBS:   Object to form.

                              5        Q.   (Mr. Weir)   That was a "no"?

                              6        A.   Correct.

                              7        Q.   What do you see as the ultimate goal of

                              8   your -- you and your staff?

                              9                   MS. COMBS:   Object to form.

                             10        A.   I don't think I understand the question.

                             11        Q.   (Mr. Weir)   Sure.   What do you see as

                             12   the -- your staff's ultimate goal, or what is your

                             13   goal from year-to-year in recruiting?

                             14                   MS. COMBS:   Object to form.

                             15        A.   I see recruitment as existing to help

                             16   meet the enrollment goals of the University.

                             17        Q.   (Mr. Weir)   And what are the enrollment

                             18   goals of the University?

                             19        A.   Whatever is provided to us through

                             20   Steve.

                             21        Q.   Has -- are there -- what are the

                             22   enrollment goals with regard to underrepresented

                             23   minority students?

                             24                   MS. COMBS:   Object to form.

                             25        A.   We do not have any specific enrollment

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